                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                       AT KNOXVILLE


  JOHN WILLIAM STEWART,                  )
                                         )
      Plaintiff,                         )
                                         )
  v.                                     )                      No. 3:08-CV-475
                                         )                      (Phillips)
  DEUTSCHE BANK NAT’L TRUST CO., et al., )
                                         )
      Defendants.                        )


                          JUDGMENT ON DECISION BY THE COURT


         This case came before the Court on the Motions for Summary Judgment [Docs. 43, 46] and

  the Motion to Adopt [Doc. 50]. The Honorable Thomas W. Phillips, United States District Judge,

  having rendered a decision on the defendants’ motions,

         IT IS ORDERED AND ADJUDGED that the plaintiff John William Stewart take nothing,

  that plaintiff’s federal and state law claims be DISMISSED WITH PREJUDICE, and that the

  defendants recover of the plaintiff their costs of action.



         Dated at Knoxville, Tennessee, this _____ day of October, 2010.



                                                        s/ Patricia L. McNutt
                                                         Clerk of Court




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